Case 8:15-cv-01146-DOC-JCG Document 35 Filed 06/10/16 Page 1 of 1 Page ID #:102



   1
   2
                                                                             JS-6
   3
   4
   5
   6
   7
   8                         UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11    TRAZELL,                                   Case No.: 8:15-cv-01146-DOC-JCG
 12                    Plaintiff,                ORDER OF DISMISSAL WITH
 13          v.                                  PREJUDICE [34]
 14    EXPERIAN SERVICES CORP.,
 15                    Defendant.
 16
 17                                          ORDER

 18          Based on the Stipulation for Dismissal between Plaintiff Trazell and
 19    Defendant Experian Information Solutions, Inc. (improperly named as Experian
 20    Services Corp.) the case is dismissed with prejudice, each party to bear its own
 21    attorneys’ fees and costs.
 22
 23    Date: June 10, 2016                          _______________________________
                                                    DAVID O. CARTER
 24
                                                    United States District Court Judge
 25
 26
 27
 28
                                                                         ORDER OF DISMISSAL
                                                                Case No. 8:15-cv-01146-DOC-JCG
